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                            THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


   EXPRESS HOMEBUYERS USA,LLC,
        Plaintiff,
                                                                  Case No. l:17-cv-736
               V.




   WBH MARKETING INC.,
            Defendant.




                                        MEMORANDUM OPINION


          Plaintiff,a Virginia limited liability company engaged in the business ofbuying and selling

  houses, brings this action against defendant, a Texas corporation engaged in the same business,

  seeking cancellation of defendant's two trademarks,"We Buy Houses" and "Webuyhouses.com"

 ("the Marks"), on the grounds that both marks are generic and undeserving of trademark

  protection. In response, defendant has counter-claimed that plaintiff has infringed on the Marks

  and falsely designated the origin of plaintiffs services. Both parties have moved for summary

 judgment on plaintiffs claim and defendant's counterclaims. This memorandum opinion

  addresses whether the Marks are generic, and therefore ineligible for trademark protection.^

  Because there are no disputed issues ofmaterial fact with respect to this question, plaintiffs motion

  for summary judgment must be granted in part and defendant's cross-motion for summary

 judgment must be denied in part.




 'The parties' cross-motions for summary judgment and plaintiffs pending motion to dismiss address defendant's
  remaining counterclaims, which do not implicate the question whether the Marks are generic. Those will be
  addressed and resolved by a separate order.

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